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 7                  UNITED STATES DISTRICT COURT
 8
                  SOUTHERN DISTRICT OF CALIFORNIA
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10    JOEL M. CRAM,                                  5   Case No. 07cv1842 LAB (NLS)
      MINH D. NGUYEN, individually, and on behalf of 5
11      all others similarly situated,               5   O R D E R  A W A R D I N G
                                                  5      COMPENSATION         AND
12          Plaintiffs,                           5      REIMBURSEMENT TO CLASS
                                                  5      COUNSEL AND INCENTIVE
13    v.                                          5      AWARDS      TO    CLASS
                                                  5      REPRESENTATIVES
14    ELECTRONIC DATA SYSTEMS                     5
         CORPORATION, a Delaware corporation, and 5
15    DOES 1 through 100, inclusive,              5
                                                  5
16          Defendants.                           5
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     ORDER AWARDING COMPENSATION AND REIMBURSEMENT TO CLASS COUNSEL,
     AND INCENTIVE AWARDS TO CLASS REPRESENTATIVES – PAGE 1
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 1         ON 12 JANUARY 2009, at 1145 hours, came on to be heard the Motion of Class Counsel,
 2 the Law Offices of David J. Gallo (hereinafter “Class Counsel”), and Class Representatives, Mr.
 3 Joel M. Cram, and Mr. Minh D. Nguyen (hereinafter collectively the “Class Representatives”),
 4 for Award of Compensation and Reimbursement to Class Counsel, and for Incentive Awards to Class
 5 Representatives. The Court having considered the evidence submitted and the argument presented,
 6 hereby grants said Motion as follows:
 7         IT IS HEREBY ORDERED that Class Counsel shall be, and hereby is, awarded compensation
 8 for services rendered on behalf of the Plaintiff Class in the sum of $300,000.00;
 9         IT IS FURTHER ORDERED that Class Counsel shall be, and hereby is, awarded
10 reimbursement for costs incurred on behalf of the Plaintiff Class in the sum of $11,980.74;
11         IT IS FURTHER ORDERED that each Class Representative shall be, and hereby is, awarded
12 a recovery enhancement of $20,000.00;
13         IT IS FURTHER ORDERED that Defendant, Electronic Data Systems Corporation
14 (hereinafter “EDS”), shall pay such amounts without the necessity of further Order by this Court,
15 and that EDS shall do so at the time(s) prescribed by the Stipulation of Settlement and General
16 Release of which this Court has, by separate Order, granted final approval.
17         IT IS SO ORDERED.
18 DATED: January 16, 2009
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20                                                       HONORABLE LARRY ALAN BURNS
                                                         United States District Judge
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     ORDER AWARDING COMPENSATION AND REIMBURSEMENT TO CLASS COUNSEL,
     AND INCENTIVE AWARDS TO CLASS REPRESENTATIVES – PAGE 2
